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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
Abel Noel Zepeda Ochoa, individually and on behalf of                      Index No.: 1:21-cv-01604
others similarly situated,

                                             Plaintiff,                    ANSWER WITH
                                                                           AFFIRMATIVE DEFENSES
                   -against-

Famous Pizza of Jackson Heights Corp. (d/b/a Elmhurst
Famous Pizza), Elmhurst Famous Pizza Corp. (d/b/a
Elmhurst Famous Pizza), and Louis Antonio,

                                              Defendants.
-----------------------------------------------------------------------X

        Defendants Famous Pizza of Jackson Heights Corp. (d/b/a Elmhurst Famous Pizza),

Elmhurst Famous Pizza Corp. (d/b/a Elmhurst Famous Pizza) (together, the “Corporate

Defendants”), and Louis Antonio (the “Individual Defendant” and together with the Corporate

Defendants, the “Defendants”), by and through their undersigned attorneys, Levin-Epstein &

Associates, P.C., as and for their answer and affirmative defenses to the Complaint, filed on April

7, 2021 (the “Complaint”) of Plaintiff Abel Noel Zepeda Ochoa (the “Plaintiff”), hereby admit,

deny and allege as follows:

                                          NATURE OF ACTION

        1.       Defendants admit the allegations contained in paragraph “1” of the Complaint.

        2.       Defendants admit the allegations contained in paragraph “2” of the Complaint.

        3.       The allegations contained in paragraph “3” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

admit the allegations contained in paragraph “3” of the Complaint to the extent that the Individual

Defendant serves or served as the owner, manager, principal or agents of the Corporate

Defendants. Defendants deny the remainder of the allegations in paragraph “3” of the Complaint.
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       4.      Defendants admit the allegations contained in paragraph “4” of the Complaint.

       5.      Defendants deny the allegations contained in paragraph “5” of the Complaint.

       6.      Defendants deny the allegations contained in paragraph “6” of the Complaint.

       7.      Defendants deny the allegations contained in paragraph “7” of the Complaint.

       8.      The allegations contained in paragraph “8” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “8” of the Complaint.

       9.      Defendants deny the allegations contained in paragraph “9” of the Complaint.

       10.     Defendants deny the allegations contained in paragraph “10” of the Complaint.

       11.     Defendants deny the allegations contained in paragraph “11” of the Complaint.

       12.     The allegations contained in paragraph “12” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “12” of the Complaint.

       13.     Defendants deny the allegations contained in paragraph “13” of the Complaint.

       14.     Defendants deny the allegations contained in paragraph “14” of the Complaint.

       15.     Defendants deny the allegations contained in paragraph “15” of the Complaint.

       16.     No response is required to the statement set forth in paragraph “16” of the

Complaint.

       17.     No response is required to the statement set forth in paragraph “17” of the

Complaint.

                                JURISDICTION AND VENUE

       18.     The allegations contained in paragraph “18” of the Complaint set forth legal

conclusions for which no response is required.
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       19.     The allegations contained in paragraph “19” of the Complaint set forth legal

conclusions for which no response is required.

                                            PARTIES

                                             Plaintiff

       20.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “20”of the Complaint.

       21.     Defendants admit the allegations contained in paragraph “21” of the Complaint to

the extent that Plaintiff was employed by Defendants until on or about January 19, 2021.

Defendants deny knowledge or information sufficient to form a belief as to the truth of the

remaining allegations set forth in paragraph “21”of the Complaint.

       22.     The allegations contained in paragraph “22” of the Complaint set forth legal

conclusions for which no response is required.

                                            Defendants

       23.     Defendants admit the allegations contained in paragraph “23” of the Complaint.

       24.     Defendants admit the allegations contained in paragraph “24” of the Complaint.

       25.     Defendants admit the allegations contained in paragraph “25” of the Complaint.

       26.      The allegations contained in paragraph “26” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

admit the allegations contained in paragraph “26” of the Complaint.

                                  FACTUAL ALLEGATIONS

                             Defendants Constitute Joint Employers

       27.     Defendants admit the allegations contained in paragraph “27” of the Complaint.
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       28.      The allegations contained in paragraph “28” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

admit the allegations contained in paragraph “28” of the Complaint.

       29.     The allegations contained in paragraph “29” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “29” of the Complaint.

       30.     The allegations contained in paragraph “30” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “30” of the Complaint.

       31.     The allegations contained in paragraph “31” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “31” of the Complaint.

       32.     The allegations contained in paragraph “32” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “32” of the Complaint.

       33.     The allegations contained in paragraph “33” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “33” of the Complaint.

       34.     The allegations contained in paragraph “34” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

admit the allegations contained in paragraph “34” of the Complaint.

       35.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “35”of the Complaint.
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       36.     The allegations contained in paragraph “36” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “36” of the Complaint.

                                        Individual Plaintiff

       37.     The allegations contained in paragraph “37” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

admit deny the allegations contained in paragraph “37” of the Complaint to the extent that Plaintiff

was Defendants’ employee. Defendants deny the remainder of the allegations contained in

paragraph “37” of the Complaint.

       38.     No response is required to the statement set forth in paragraph “38” of the

Complaint.

                                Plaintiff Abel Noel Zepeda Ochoa

       39.     Defendants admit the allegations contained in paragraph “39” of the Complaint to

the extent that Plaintiff was employed by Defendants until on or about January 19, 2021.

Defendants deny knowledge or information sufficient to form a belief as to the truth of the

remaining allegations set forth in paragraph “39”of the Complaint.

       40.     Defendants deny the allegations contained in paragraph “40” of the Complaint.

       41.     Defendants deny the allegations contained in paragraph “41” of the Complaint.

       42.     Defendants deny the allegations contained in paragraph “42” of the Complaint.

       43.     The allegations contained in paragraph “43” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “43” of the Complaint.
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       44.     The allegations contained in paragraph “44” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “44” of the Complaint.

       45.     Defendants deny the allegations contained in paragraph “45” of the Complaint.

       46.     Defendants deny the allegations contained in paragraph “46” of the Complaint.

       47.     Defendants deny the allegations contained in paragraph “47” of the Complaint.

       48.     Defendants deny the allegations contained in paragraph “48” of the Complaint.

       49.     Defendants deny the allegations contained in paragraph “49” of the Complaint.

       50.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “50”of the Complaint.

       51.     Defendants deny the allegations contained in paragraph “51” of the Complaint.

       52.     Defendants deny the allegations contained in paragraph “52” of the Complaint.

       53.     Defendants deny the allegations contained in paragraph “53” of the Complaint.

       54.     Defendants deny the allegations contained in paragraph “54” of the Complaint.

       55.     Defendants deny the allegations contained in paragraph “55” of the Complaint.

       56.     Defendants deny the allegations contained in paragraph “56” of the Complaint.

       57.     Defendants deny the allegations contained in paragraph “57” of the Complaint.

       58.     Defendants deny the allegations contained in paragraph “58” of the Complaint.

       59.     Defendants deny the allegations contained in paragraph “59” of the Complaint.

       60.     Defendants deny the allegations contained in paragraph “60” of the Complaint.

       61.     Defendants deny the allegations contained in paragraph “61” of the Complaint.

       62.     Defendants deny the allegations contained in paragraph “62” of the Complaint.

       63.     Defendants deny the allegations contained in paragraph “63” of the Complaint.
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       64.     Defendants deny the allegations contained in paragraph “64” of the Complaint.

       65.     Defendants deny the allegations contained in paragraph “65” of the Complaint.

                           Defendants’ General Employment Practices

       66.     Defendants deny the allegations contained in paragraph “66” of the Complaint.

       67.     Defendants deny the allegations contained in paragraph “67” of the Complaint.

       68.     Defendants deny the allegations contained in paragraph “68” of the Complaint.

       69.     Defendants deny the allegations contained in paragraph “69” of the Complaint.

       70.     Defendants deny the allegations contained in paragraph “70” of the Complaint.

       71.     Defendants deny the allegations contained in paragraph “71” of the Complaint.

       72.     Defendants deny the allegations contained in paragraph “72” of the Complaint.

       73.     Defendants deny the allegations contained in paragraph “73” of the Complaint.

       74.     The allegations contained in paragraph “74” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “74” of the Complaint.

       75.     The allegations contained in paragraph “75” of the Complaint set forth legal

conclusions for which no response is required.

       76.     The allegations contained in paragraph “76” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “76” of the Complaint.

       77.     The allegations contained in paragraph “77” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “77” of the Complaint.

       78.     Defendants deny the allegations contained in paragraph “78” of the Complaint.
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       79.     Defendants deny the allegations contained in paragraph “79” of the Complaint.

       80.     The allegations contained in paragraph “80” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “80” of the Complaint.

       81.     Defendants deny the allegations contained in paragraph “81” of the Complaint.

       82.     Defendants deny the allegations contained in paragraph “82” of the Complaint.

       83.     Defendants deny the allegations contained in paragraph “83” of the Complaint.

       84.     Defendants deny the allegations contained in paragraph “84” of the Complaint.

       85.     The allegations contained in paragraph “85” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “85” of the Complaint.

       86.     The allegations contained in paragraph “86” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “86” of the Complaint.

       87.     The allegations contained in paragraph “87” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “87” of the Complaint.

       88.     The allegations contained in paragraph “88” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “88” of the Complaint.

       89.     The allegations contained in paragraph “89” of the Complaint set forth legal

conclusions for which no response is required. To the extent that a response is required, Defendants

deny the allegations contained in paragraph “89” of the Complaint.
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                           FLSA COLLECTIVE ACTOIN CLAIMS

       90.     No response is required to the statement set forth in paragraph “90” of the

Complaint.

       91.     The allegations contained in paragraph “91” of the Complaint set forth legal

conclusions for which no response is required.

       92.     The allegations contained in paragraph “92” of the Complaint set forth legal

conclusions for which no response is required.

                                  FIRST CAUSE OF ACTION

         VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

       93.     No response is required to the statement set forth in paragraph “93” of the

Complaint.

       94.     The allegations contained in paragraph “94” of the Complaint set forth legal

conclusions for which no response is required. To the extent a response is required, Defendants

deny the allegations contained in paragraph “94” of the Complaint.

       95.     The allegations contained in paragraph “95” of the Complaint set forth legal

conclusions for which no response is required. To the extent a response is required, Defendants

deny the allegations contained in paragraph “95” of the Complaint.

       96.     The allegations contained in paragraph “96” of the Complaint set forth legal

conclusions for which no response is required.

       97.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “97”of the Complaint. To the extent a response is required,

Defendants deny the allegations contained in paragraph “97” of the Complaint.
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       98.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “98”of the Complaint. To the extent a response is required,

Defendants deny the allegations contained in paragraph “98” of the Complaint.

       99.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “99”of the Complaint. To the extent a response is required,

Defendants deny the allegations contained in paragraph “99” of the Complaint.

                                SECOND CAUSE OF ACTION

              VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

       100.    No response is required to the statement set forth in paragraph “100”.

       101.    The allegations contained in paragraph “101” of the Complaint set forth legal

conclusions for which no response is required.

       102.    Defendants deny the allegations contained in paragraph “102” of the Complaint.

       103.    Defendants deny the allegations contained in paragraph “103” of the Complaint.

                                 THIRD CAUSE OF ACTION

                VIOLATION OF THE NEW YORK MINIMM WAGE AGT

       104.    No response is required to the statement set forth in paragraph “104”.

       105.    The allegations contained in paragraph “105” of the Complaint set forth legal

conclusions for which no response is required.

       106.    The allegations contained in paragraph “106” of the Complaint set forth legal

conclusions for which no response is required.

       107.    The allegations contained in paragraph “107” of the Complaint set forth legal

conclusions for which no response is required.

       108.    Defendants deny the allegations contained in paragraph “108” of the Complaint.
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                            FOURTH CAUSE OF ACTION

                  VIOLATION OF THE OVERTIME PROVISIONS

                     OF THE NEW YORK STATE LABOR LAW

     109.   No response is required to the statement set forth in paragraph “109”.

     110.   Defendants deny the allegations contained in paragraph “110” of the Complaint.

     111.   Defendants deny the allegations contained in paragraph “111” of the Complaint.

     112.   Defendants deny the allegations contained in paragraph “112” of the Complaint.

                              FIFTH CAUSE OF ACTION

            VIOLATION OF THE SPREAD OF HOURS WAGE ORDER

               OF THE NOEW YORK COMMISSIONER OF LABOR

     113.   No response is required to the statement set forth in paragraph “113”.

     114.   Defendants deny the allegations contained in paragraph “114” of the Complaint.

     115.   Defendants deny the allegations contained in paragraph “115” of the Complaint.

     116.   Defendants deny the allegations contained in paragraph “116” of the Complaint.

                              SIXTH CAUSE OF ACTION

             VIOLATION OF THE NOTICE AND RECORDKEEPING

               REQUIREMENTS OF THE NEW YORK LABOR LAW

     117.   No response is required to the statement set forth in paragraph “117”.

     118.   Defendants deny the allegations contained in paragraph “118” of the Complaint.

     119.   Defendants deny the allegations contained in paragraph “119” of the Complaint.
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                               SEVENTH CAUSE OF ACTION

               VIOLATION OF THE WAGE STATEMENT PROVISIONS

                            OF THE NEW YORK LABOR LAW

       120.   No response is required to the statement set forth in paragraph “120”.

       121.   Defendants deny the allegations contained in paragraph “121” of the Complaint.

       122.   Defendants deny the allegations contained in paragraph “122” of the Complaint.

                                EIGHTH CAUSE OF ACTION

                           RECOVERY OF EQUIPMENT COSTS

       123.   No response is required to the statement set forth in paragraph “123”.

       124.   Defendants deny the allegations contained in paragraph “124” of the Complaint.

       125.   Defendants deny the allegations contained in paragraph “125” of the Complaint.

                                 NINTH CAUSE OF ACTION

                VIOLATION OF THE TIMELY PAYMENT PROVISIONS

                            OF THE NEW YORK LABOR LAW

       126.   No response is required to the statement set forth in paragraph “126”.

       127.   Defendants deny the allegations contained in paragraph “127” of the Complaint.

       128.   Defendants deny the allegations contained in paragraph “128” of the Complaint.

                                    PRAYER FOR RELIEF

       129.   Defendants deny that Plaintiff is entitled to any relief sought in the

“WHEREFORE” clause.

                    AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       130.    Plaintiff fails to state a claim, in whole or in part, upon which relief may be granted,

either on his own behalf or on behalf of those persons who Plaintiff purports to represent, or to

whom he purportedly is similarly situated.
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                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       131.    Plaintiff’s claims, and those of the members of the putative classes whom Plaintiff

purports to represent, are barred in whole or in part by applicable statutes of limitation under 29

U.S.C. § 255, and NYLL §§ 198(3), 663(3).

                    AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       132.    Plaintiff’s claims, and those of the members of the putative classes whom Plaintiff

purports to represent, are barred in whole or in part by the equitable doctrines of unclean hands,

unjust enrichment, laches, offset and/or set off and/or estoppel.

                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       133.    Plaintiff’s claims, and those of the members of the putative classes whom Plaintiff

purports to represent, are barred in whole or in part because Plaintiff has not suffered any injury

or damage as a result of any actions allegedly taken by Defendants.

                     AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       134.    Plaintiff’s claims, and those of the members of the putative classes whom Plaintiff

purports to represent, are barred in whole or in part because the Complaint is uncertain in that the

purported class definitions are ambiguous and conclusory.

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       135.    If Defendants are found to have failed to pay Plaintiffs and any putative member of

the classes whom Plaintiff purports to represent any wages owed, which Defendants expressly

deny, Defendants nevertheless acted at all times on the basis of a good faith and reasonable belief

that they had complied fully with all applicable laws and had no actual or constructive notice of

any violation. The actions taken or omitted by Defendants were also in good faith conformity with
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administrative regulations and/or guidance and/or interpretations issued by the U.S. Department

of Labor and the New York State Department of Labor.

                    AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

        136.     Plaintiff’s claims, and those of the members of the putative classes whom Plaintiff

purports to represent, are barred in whole or in part to the extent injunctive and/or other equitable

relief is sought, because all have an adequate remedy at law and have suffered no irreparable harm

due to any alleged conduct of Defendants. Payment to any Plaintiff for any wages due (which

Defendants expressly deny are due) would fully compensate them and make them whole, belying

the propriety of any non-economic relief.

                    AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        137.     To the extent Plaintiffs and members of the putative classes whom Plaintiff purports

to represent suffered injury, which Defendants expressly deny, subject to proof through discovery,

any such injury is the result of acts or omissions of such individuals, and not any act or omission

of Defendants.

                      AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        138.     Plaintiff is not entitled to certification of this action as a class action pursuant to

Rule 23 of the Federal Rules of Civil Procedure because the purported class is not ascertainable

and also not so numerous that joinder of its members is impracticable, Plaintiff cannot satisfy the

requirement of superiority, questions of law or fact are not common to the class, Plaintiff’s claims

are not typical of the claims or defenses of the purported class, Plaintiff will not fairly and

adequately protect the interests of the class, Plaintiff’s interest conflict with those of putative class

members, and/or the requirements of Fed.R.Civ.Pro. 23(b) are not met in this case.

                      AS AND FOR A TENTH AFFIRMATIVE DEFENSE
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       139.    Plaintiff is not entitled to certification of this action as a collective action pursuant

to Section 216(b) of the FLSA because Plaintiff and the purported class members he seeks to

represent are not similarly situated to one another, Plaintiff’s claims require individualized

inquiries, and/or proof of damages would require separate trials.

                AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

       140.    Plaintiff is an inadequate and atypical representative of the classes Plaintiff purports

to represent and their interests are in conflict with those of the individuals Plaintiff seeks to

represent.

                   AS AND FOR A TELFTH AFFIRMATIVE DEFENSE

       141.    Plaintiff’s claims and those of the members of the putative classes whom Plaintiff

purports to represent are barred in whole or in part because they were paid the requisite wages for

all work performed and provided the requisite notices and wage statements for work performed.

                AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

       142.    Plaintiff’s claims and those of the members of the putative classes whom Plaintiff

purports to represent are barred to the extent they concern hours during which these individuals

were engaged in activities that were preliminary or postliminary to their alleged work activities.

               AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

       143.    Plaintiff’s claims and those of the members of the putative classes whom Plaintiff

purports to represent are barred in whole or in part to the extent Defendants lacked actual or

constructive knowledge of the hours allegedly worked.

                 AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE
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        144.    Plaintiff’s claims and those of the members of the putative classes whom Plaintiff

purports to represent are barred in whole or in part to the extent that these individuals have

affirmatively released, waived, or abandoned all or some of the claims raised in the Complaint.

                    AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

        145.    Plaintiff’s claims and those of the members of the putative classes whom Plaintiff

purports to represent are barred, in whole or in part, because: (a) Defendants took reasonable steps

to prevent and correct the conduct alleged in the Complaint; (b) Plaintiff unreasonably failed to

use the preventative and corrective measures that Defendants provided; and (c) reasonable use of

Defendants’ procedures would have prevented at least some of the harm that Plaintiff allegedly,

suffered, if any.

                AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

        146.    If Defendants’ failure to pay requisite wages, provide notice and wage statements,

and maintain records was unlawful, although such is not admitted, none of Defendants’ acts or

omissions constitute willful violation of the FLSA or NYLL.

                AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

        147.    If Defendants’ alleged failure to pay requisite wages, provide notice and wage

statements, and maintain records was unlawful, although such is not admitted, neither Plaintiff nor

members of the putative classes they seek to represent can demonstrate facts sufficient to warrant

an award of liquidated damages.

                    AS AND FOR A NINTEENTH AFFIRMATIVE DEFENSE

        148.    Any failure to pay wages, provide notice and wage statements or maintain records

required by the FLSA and/or NYLL to Plaintiff or members of the putative classes Plaintiff
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purports to represent is attributable to a bona fide dispute with respect to their entitlement to

payment.

                  AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

        149.    To the extent that Plaintiff, and members of the putative classes whom Plaintiff

purports to represent, were paid compensation beyond that to which they were entitled, such

additional compensation would satisfy, in whole or in part, any alleged claim for unpaid overtime

or other monetary relief.

                AS AND FOR A TWENTY FIRST AFFIRMATIVE DEFENSE

        150.    Assuming arguendo, Defendants violated any provision of the FLSA and/or New

York Labor Law, such violation was not pursuant to a uniform policy or plan.



               AS AND FOR A TWENTY SECOND AFFIRMATIVE DEFENSE

        151.    Supplemental or other jurisdiction should not be exercised over Plaintiff’s New

York Labor Law claims.

                                 RESERVATION OF RIGHTS

        152.    Defendants reserve the right to raise additional affirmative defenses and to

supplement those asserted herein upon discovery of further information and investigation into the

Plaintiff’s claims.

        153.    Defendants reserve the right to assert claims against Plaintiff arising out of

Plaintiff’s acts of theft.

        WHEREFORE, Defendants demand judgment in their favor:

       (a)     denying Plaintiff is entitled to the relief for which he prays on behalf of themselves
or any other individual or to any other relief.
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         (b)    dismissing the Complaint against Defendants on the merits with prejudice and in
its entirety;

        (c)     awarding Defendants their costs and disbursement, including reasonable attorneys’
fees incurred in the action; and

          (d)   granting Defendants such other and further relief as the Court may deem just and
proper.

Dated: July 9, 2021
       New York, New York

                                                    By:     /s/Joshua D. Levin-Epstein
                                                           Joshua D. Levin-Epstein, Esq.
                                                           60 East 42nd Street, Suite 4700
                                                           New York, New York 10165
                                                           Tel. No.: (212) 792-0046
                                                           Facsimile: (646) 786-3170
                                                           Email: Joshua@levinepstein.com
                                                           Attorneys for Defendants
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 9, 2021, I electronically filed the foregoing Answer with

Affirmative Defenses with the Clerk of the District Court using the CM/ECF system, which sent

notification to all parties registered to receive notice via that service, including:

                                Michael Faillace &Associates, P.C.
                                Attn: Michael Faillace
                                60 East 42nd Street, Suite 4510
                                New York, New York 10165
                                Attorneys for Plaintiff

                                                                /s/Joshua D. Levin-Epstein
                                                                Joshua D. Levin-Epstein, Esq.
